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 1                                 UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3

 4       MARCUS SHARIF MCNEAL,                                     Case No. 2:16-cv-01618-JAD-EJY
 5                                             Petitioner
                v.                                                Order Granting Extension of Time
 6
         BRIAN E. WILLIAMS, et al.,                                           [ECF No. 72]
 7
                                           Respondents
 8

 9            Respondents move for a 31-day extension of time to answer or otherwise respond to the
10   amended petition for writ of habeas corpus in this case. 1 This is respondents’ third request for
11   extension of the deadline. Good cause appearing, IT IS HEREBY ORDERED that respondents’
12   motion for enlargement of time [ECF No. 72] is GRANTED. Respondents have until February
13   11, 2021, to file an answer or otherwise respond to the amended petition.
14            Given the age of this case and the lack of progress to date, I previously directed counsel
15   for both parties to prioritize the briefing in this case over later-filed matters. 2 This instruction
16   remains in effect moving forward. Further extensions of time are not likely to be granted
17   absent compelling circumstances and a strong showing of good cause why the deadline
18   could not be met within the extended time allowed despite the exercise of due diligence.
19            Dated: 1-12-2021
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21                                                              U.S. District Judge Jennifer A. Dorsey
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25   1
         ECF No. 72.
     2
26     ECF No. 70 (“[A]ny future request for extension of time—even if unopposed—will be carefully
     scrutinized for good cause and, moving forward, counsel will be required to prioritize the briefing in this
27   case over later-filed matters.”)
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